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Approved: ____________________________________________
          MATTHEW J.C. HELLMAN / JACOB H. GUTWILLIG /
          MICHAEL D. LOCKARD
          Assistant United States Attorneys

Before:     THE HONORABLE SARAH L. CAVE
            United State Magistrate Judge


                                               22 MAG 6185
            Southern District of New York

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                                   :
UNITED STATES OF AMERICA           :             SEALED COMPLAINT
                                   :
           - v. -                  :             Violation of
                                   :             18 U.S.C. §§ 922(k) & 2
KHALID MEHDIYEV,                   :
                                   :             COUNTY OF OFFENSE:
                Defendant.         :             BRONX
                                   :
- - - - - - - - - - - - - - - - - -x

SOUTHERN DISTRICT OF NEW YORK, ss.:

          SPECIAL AGENT DEREK KASSE, being duly sworn, deposes
and says that he is a Special Agent with the Federal Bureau of
Investigation (the “FBI”), and charges as follows:

                            COUNT ONE
    (Possessing a Firearm with an Obliterated Serial Number)

     1.   In or about July 2022, in the Southern District of New
York and elsewhere, KHALID MEHDIYEV, the defendant, knowingly
did possess and receive a firearm which had the importer’s and
manufacturer’s serial number removed, obliterated, and altered
and which had been shipped and transported in interstate and
foreign commerce, to wit, MEHDIYEV possessed a Norinco AK-47-
style assault rifle manufactured in China and having a removed
and obliterated serial number.

      (Title 18, United States Code, Sections 922(k) & 2.)

          The bases for my knowledge and for the foregoing
charge, are, in part, as follows:

     2.   I am a Special Agent with the FBI. In the course of
my duties with the FBI, I received training in, and participated
in, investigations of violations of U.S. criminal laws.
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     3.   I have been personally involved in the investigation
of this matter. This affidavit is based upon my own knowledge,
my conversations with others, including other law enforcement
agents and officers, and my examination of video surveillance,
reports, and records. Because this affidavit is being submitted
for the limited purpose of demonstrating probable cause, it does
not include all the facts that I have learned during the course
of my investigation. Where the contents of documents and the
actions, statements, and conversations of others are reported
herein, they are reported in substance and in part, except where
otherwise indicated. In the course of my investigation, I have
learned, in substance and among other things, the following:

     4.   KHALID MEHDIYEV, the defendant, was observed by
members of law enforcement in the vicinity of a residence (the
“Residence”) located in Brooklyn, New York, on July 27 and July
28, 2022. On July 28, 2022, MEHDIYEV arrived in the vicinity of
the Residence in the morning in a gray Subaru Forester SUV with
an Illinois license plate (the “Subaru”) and remained there for
several hours. MEHDIYEV behaved suspiciously during that time:
among other things, he exited and entered the Subaru several
times, ordered food to be delivered to the Subaru, approached
the Residence, appeared to attempt to look inside the windows of
the Residence, and attempted to open the front door of the
Residence. In the afternoon, MEHDIYEV drove away from the
Residence. MEHDIYEV was stopped in the vicinity of the
Residence by New York City Police Department (“NYPD”) officers
after failing to stop at a stop sign. MEHDIYEV was the only
occupant in the Subaru.

     5.   The NYPD officers who stopped KHALID MEHDIYEV, the
defendant, in the Subaru, determined that MEHDIYEV was driving
without a license and that MEHDIYEV’s license had been
suspended, in violation of New York State law. MEHDIYEV was
placed under arrest.

     6.   A search of NYPD databases revealed that the Subaru
was issued a parking ticket on or about July 23, 2022, on the
block where the Residence is located.

     7.   Following the traffic stop described above, KHALID
MEHDIYEV, the defendant, was taken to an NYPD precinct house in
Brooklyn. During an inventory search of the Subaru subsequent
to MEHDIYEV’s arrest, members of the NYPD found, among other
things, on the rear seat of the Subaru, a suitcase containing a
Norinco AK-47-style assault rifle (the “AK-47”), loaded with a
round in the chamber and a magazine attached, along with a


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separate second magazine, and a total of approximately 66 rounds
of ammunition. The serial number of the rifle appears to have
been obliterated. The AK-47 is stamped with, among other
things, markings which read “MADE IN CHINA BY NORINCO.” 1 The AK-
47, magazines, and ammunition recovered from the vehicle driven
by MEHDIYEV are shown below:




     8.   The suitcase found in the Subaru also contained, among
other things, $1,100 in U.S. currency, consisting of 11 $100
bills; a wallet with a social security card in the name of
KHALID MEHDIYEV, the defendant; an expired employment
authorization card from U.S. Citizenship and Immigration
Services in MEHDIYEV’s name; several bank cards bearing
MEHDIYEV’s name; a New York State Driver’s Learner’s Permit in
MEHDIYEV’s name and bearing a photograph which appears to depict
MEHDIYEV; and an electronic device charger. Also recovered
during the inventory search of the Subaru were two other license
plates with different license plate numbers and issuing states
than the Illinois license plate on the Subaru. MEHDIYEV also
had approximately $70 in U.S. currency on his person.

     9.   The New York State Learner’s Permit issued to KHALID
MEHDIYEV, the defendant, and in his possession at the time of

1Norinco is a Chinese state-owned company that manufactures, among
other things, firearms, ammunition, and military supplies.

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the car stop, lists an address in Yonkers, New York as his
residence (the “Yonkers Address”).

     10. At the NYPD Brooklyn precinct house, KHALID MEHDIYEV,
the defendant, was advised of his Miranda rights and waived
those rights and agreed to answer questions. During the ensuing
interview, the following occurred, in substance and in part:

          a.   MEHDIYEV stated that he has been staying at the
Yonkers Address and woke up there the morning of July 28, 2022.

          b.   MEHDIYEV claimed that the rent was too high and
he needed to find a new place to live, and was in the vicinity
of the Residence in Brooklyn because he was looking for a new
apartment. MEHDIYEV further claimed that he had also been in
the vicinity of the Residence the day prior to his arrest.
MEHDIYEV further claimed that: he attempted to open an outer
door of the Residence so that he could knock on the inner door,
and ask the occupants if they were interested in renting him a
room, but changed his mind because he might wake up a sleeping
or sick occupant; he had cash in order to rent a hotel room if
necessary; and he had borrowed the Subaru and needed to return
it to the Yonkers Address.

           c.  Without having previously been questioned about
the assault rifle found in the Subaru, MEHDIYEV volunteered that
he did not know anything about a gun, and during subsequent
questioning, he claimed that the suitcase recovered from the
backseat of the Subaru was not his. MEHDIYEV further stated
that the suitcase was on the backseat of the Subaru when he
borrowed the Subaru in the morning, and remained in the Subaru
as he drove the Subaru from Yonkers, to New Rochelle, and then
to Brooklyn. MEHDIYEV further claimed that he had placed his
wallet, an electronic device charger, and other personal effects
inside the front pocket of the suitcase for safekeeping, but had
not observed that the main compartment of the suitcase contained
the AK-47.

          d.   Later, after the interviewing agents had left the
interview room, MEHDIYEV asked to speak with the agents again,
and then told the agents that the AK-47 was his, and that he had
been in Brooklyn because he was looking for someone. At that
point, MEHDIYEV invoked his right to counsel and stated that he
would not discuss the matter further at that time.




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          WHEREFORE, the deponent respectfully requests that a
warrant issue for the arrest of KHALID MEHDIYEV, the defendant,
and that he be arrested and imprisoned or bailed, as the case may
be.


                                  /s Derek Kasse (By Court with Auth)
                                 ____________________________
                                 DEREK KASSE
                                 Special Agent
                                 Federal Bureau of Investigation


Sworn to before me by
reliable electronic means
this ___th
      29   day of July, 2022


______________________________
HONORABLE SARAH L. CAVE
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK




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